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 Via ECF

 March 7, 2023

 Honorable Taryn A. Merkl, U.S.M.J.
 United States District Court Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:      Star Auto Sales of Bayside, Inc., et al. v. Voynow, Bayard, Whyte and Co., LLP
          (“Voynow”), et al.
          Case No.: 1:18-cv-5775 (ERK) (TAM)

 Dear Judge Merkl:

         Plaintiffs respectfully submit this letter motion in support of their motion for sanctions
 against Defendants and their counsel under Fed. R. Civ. Proc. 37(d)(1)(A)(i), Fed. R. Civ. Proc.
 30(d), and under the Court’s inherent power for failure to appear for the Fed. R. Civ. Proc. 30(b)(6)
 deposition of Defendant Voynow noticed for March 7, 2023 and their gamesmanship related to
 same. Plaintiffs also seek an order directing Voynow to appear at its 30(b)(6) deposition and
 warning Voynow that if it fails to do so, its answer will be struck.

         On February 7, 2023, Plaintiffs served a 30(b)(6) deposition notice on Voynow. On
 February 17, 2023, Defendants objected to the scope of topics listed for Voynow’s 30(b)(6)
 deposition. The parties met and conferred on February 27, 2023 with regard to Defendants’
 objections to the 30(b)(6) notice. See ECF Doc. No. 85-1. The following morning, Plaintiffs
 served an amended 30(b)(6) notice addressing several of Defendants’ objections. On March 2,
 2023, Defendants sent a letter to Plaintiffs objecting to the amended 30(b)(6) notice and offered to
 meet and confer if Plaintiffs felt it would be productive.

        The following morning, March 3, 2023, at 10:05 am, Plaintiffs responded to Defendants’
 March 2, 2023 letter stating that they disagree with Defendants’ remaining objections which were
 the same that the parties previously met and conferred about, so there was no need to meet and
 confer again. Plaintiffs also told Defendants on March 3, 2023 that they will be proceeding with
 the 30(b)(6) deposition commencing on March 7 unless the court orders otherwise. Plaintiffs
 received no further communication from Defendants that day and spent the rest of that day and the
 weekend preparing for the 30(b)(6) deposition with Plaintiffs’ representative.
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         Less than 24 hours prior to the deposition, on March 6, 2023, at 11:55 am, Defendants e-
 mailed Plaintiffs a draft letter to the Court explaining their objections to some of the topics in the
 amended 30(b)(6) notice. The letter did not state that Defendants would not be appearing for the
 deposition, nor did they inform Plaintiffs in any other manner that they would not be appearing for
 the deposition. Plaintiffs provided their portion of the letter a few hours after they received
 Defendants’ portion and reiterated in the letter that they would be proceeding with the deposition.
 Later that day, Plaintiffs e-mailed Defendants stating, again, that they would be proceeding with
 the 30(b)(6) deposition the following morning unless the court orders otherwise prior to the
 deposition. Defendants did not respond stating they would not appear. However, Defendants
 failed to appear for the 30(b)(6) deposition on March 7.

         Over Defendants’ objection, the Court previously extended the discovery deadline to
 March 17, 2023 and stated it was unlikely that any further extensions would be granted. Thus, due
 to the looming discovery deadline and Defendants’ failure to affirmatively state that they would
 not appear for the 30(b)(6) deposition, Plaintiffs proceeded with the deposition to ensure it would
 be taken before the discovery deadline.

         Plaintiffs’ counsel and their representative spent substantial hours over the past week
 preparing for this deposition. In fact, because Defendants’ counsel never once said that she would
 not produce a 30(b)(6) witness, Plaintiffs’ counsel inconvenienced their clients and spent the entire
 weekend preparing, including bringing in one of the law firm’s associates to assist. Defendants’
 counsel’s conduct was pure gamesmanship 1, meant to inconvenience, and waste the time of,
 Plaintiffs’ counsel and their clients. As a direct result of Defendants’ counsel’s “sharp practice”
 (and lack of basic decency), we geared up and prepared unnecessarily (and now will have to re-do
 preparation) – even though Defendants’ counsel knew full-well that she never had any intention
 to produce a witness on the noticed date. What makes Defendants’ counsel’s conduct even more
 egregious is that Plaintiffs’ counsel was eminently clear in stating that we intended to go forward
 with the deposition on numerous occasions, and, in light of the Court’s deadlines, it was necessary
 to do so. In addition, Plaintiffs have to pay the court reporter and videographer who were present
 for the deposition.

           Fed. R. Civ. Proc. 37(d)(1)(A)(i) authorizes sanctions if a party fails, after being served
 with a 30(b)(6) notice, to appear for a deposition. Under Fed. R. Civ. Proc. 37(d)(3), the Court
 “must require the party failing to act, the attorney advising that party, or both to pay the reasonable
 expenses, including attorney’s fees, caused by the failure, unless the failure was substantially
 justified or other circumstances make an award of expenses unjust.” Fed. R. Civ. Proc. 37(d)(3)
 (emphasis added).



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   This was not the only occasion on which Defendants’ counsel has engaged in sharp practices. During the 30(b)(6)
 deposition taken by Defendants from February 1-3, 2023, Plaintiffs requested, pursuant to Fed. R. Civ. Proc. 30, a
 copy of the deposition transcript for the witness to review. Plaintiffs made subsequent requests which have been
 ignored by Defendants’ counsel who has,, to date, still not provided the transcript.
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         Under Fed. R. Civ. Proc. 30(d), “the court may impose an appropriate sanction—including
 the reasonable expenses and attorney's fees incurred by any party—on a person who impedes,
 delays, or frustrates the fair examination of the deponent.”

        The Court also possesses inherent power to impose decorum and "to fashion an appropriate
 sanction for conduct which abuses the judicial process[]." Elsevier Inc. v. Grossmann, 2017 U.S.
 Dist. LEXIS 3393848 at *3 (S.D.N.Y. Aug. 7, 2017). Imposition of sanctions under the Court's
 inherent powers requires a particularized finding of bad faith, shown by “clear evidence” that the
 actions in question were taken "for reasons of harassment or delay or for other improper
 purposes." United States v. Int'l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers of Am.,
 AFL-CIO, 948 F.2d 1338, 1345 (2d Cir. 1991).

        Monetary sanctions are among the "mildest" sanctions for discovery misconduct, Cine
 Forty-Second St. Theatre Corp. v. Allied Artists Pictures Corp., 602 F.2d 1062, 1066 (2d Cir.
 1979), and should be sufficient to both compensate the opposing party for costs associated with
 the misconduct and to deter similar conduct in the future. See Syntel Sterling Best Shores
 Mauritius Ltd. v. Trizetto Grp., 328 F.R.D. 100, 2018 U.S. Dist. LEXIS 160236 at * 68-69
 (S.D.N.Y. Sept. 19, 2018).

         Defendants and their counsel should be sanctioned and ordered to pay Plaintiffs’ attorneys’
 fees related to Plaintiffs’ counsel’s preparation for the deposition and drafting this motion and
 costs for the court reporter and videographer. These sanctions are warranted due to Voynow’s
 failure to appear. See Baez v. City of N.Y., 2019 U.S. Dist. LEXIS 88045 (E.D.N.Y. May 18,
 2019) (ordering defendant to pay costs associated with failure to appear at deposition and
 attorneys’ fees related to sanctions motion); PrecisionFlow Techs. v. CVD Equip. Corp., 198
 F.R.D. 33 (N.D.N.Y. 2000) (awarding costs and attorneys’ fees due to failure of deponents to
 appear for depositions) affirmed by 140 F. Supp. 2d 195 (N.D.N.Y. 2001). Defendants’ last minute
 submission of a letter to the Court seeking to limit the scope of topics is unavailing and insufficient
 grounds to not appear at a deposition noticed thirty (30) days earlier.

        Accordingly, Plaintiffs respectfully request the Court issue sanctions as it deems
 appropriate.

                                                Respectfully submitted,

                                                MILMAN LABUDA LAW GROUP PLLC

                                                /s/ Jamie S. Felsen
 cc: All counsel of record
